Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 1 of 20




            EXHIBIT F
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 2 of 20



1
2                THE OFFICE OF SECRETARY OF STATE
                          STATE OF GEORGIA
3
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7
8
9                         IN THE MATTER OF:
10                  STATE ELECTION BOARD MEETING
11
12                    Wednesday, June 21, 2023
13                Georgia State Capitol, Room 341
14                         Atlanta, Georgia
15                             9:00 a.m.
16                           Volume 2 of 2
17
18
19
20
21
22
23
24                  MARY K MCMAHAN, CCR, 2757
               STEVEN RAY GREEN COURT REPORTING LLC
25                    ATLANTA, GEORGIA 30324
                           (404)733-6070




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     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 3 of 20



 1                     APPEARANCE OF THE PANEL
 2
 3   William Duffey, Chair
 4   Sara Tindall Ghazal
 5   Janice Johnston
 6   Ed Lindsey
 7   Matt Mashburn
 8
 9   Transcript Legend
10   [sic] - Exactly as said.
11   (ph) - Exact spelling unknown.
12   -- Break in speech continuity.
13   . . . Indicates halting speech, unfinished sentence or
14   omission of word(s) when reading.
15   Quoted material is typed as spoken.
16
17                        TABLE OF CONTENTS
18                                                            Page:
19   Response to Fulton County Performance Review ....... 8
20   Cases Recommended To Be Dismissed ................. 51
21   Cases Recommended For Letters of Instruction or
                                    Referral .............. 113
22
23   Reporter's Certificate ........................... 241
24
25




                                                                         2
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 4 of 20



1         of the elections process to the end of the
2         elections process.
3               Obviously with that, what we'll -- we need
4         to make sure that the poll book is compatible by
5         that point which we're working with our poll book
6         vendor to make sure that we stay up to date with
7         the progress on that.       But we're hoping that
8         that's at a point where it is compatible for us
9         to be able to run pilots.
10              So for that what I'm going to do at this
11        point is hand it over to Michael Barnes.
12              JUDGE DUFFEY:     Welcome, Mr. Barnes.
13              MR. BARNES:     Good morning.    Again my name is
14        Michael Barnes.      I serve under Blake in the
15        Secretary of State's Office as his deputy
16        director of elections, and I work mainly with the
17        voting systems that we use in the state of
18        Georgia.
19              We have begun the process of interacting
20        with Dominion Suite 5.17 to get a true
21        understanding of what changes we may see between
22        5, 5A, which is what we are currently using in
23        Georgia, as we transition potentially to 5.17.
24              The one good news, I think, from a voter
25        experience, which -- what a Georgia voter will




                                                                         79
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 5 of 20



1         see when they interact with a touchscreen if we
2         transition to 5.17, it's not a big change for
3         what the voter experience will be.
4               However, the majority of the changes are
5         really in the back end of the system, primarily
6         within the election management system.          And that
7         is the system that builds the ballots.          That's
8         the system that counts the ballots.         That's also
9         the system that transfers the information from
10        the election management system to the devices
11        that are used, the BMDs, the scanners themselves.
12        Because unfortunately what we've been -- what
13        we've called this process is, potentially, we
14        call it an upgrade.      It's really not an upgrade.
15              This -- even though it starts five -- it
16        says 5.17 and we may use 5.5, this really will
17        require us to fully rebuild the system and that
18        means the election management systems have to be
19        completely rebuilt; the operating systems on
20        those devices have to be renewed, updated to a
21        different version.      The back-end application in
22        which these applications sit have to be updated
23        and replaced.
24              So an additional amount of hardware has got
25        to be procured for county use.        And I'm not




                                                                         80
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 6 of 20



1         talking about touchscreens and ballot scanners.
2         I'm talking about the CPUs that are placed within
3         the county offices that run the elections
4         process, where the election project sits, where
5         the ballots become tabulated.        And we were not
6         anticipating that initially when we began having
7         discussions with Dominion about potential changes
8         in the voting system.       But that now is what we
9         are seeing, is that we are going to have to look
10        into going back to the legislature and asking for
11        potential funds to upgrade some of the CPUs that
12        are at the county level.       There may be an
13        opportunity us for to -- to reuse some equipment
14        that is already at the place but I'm afraid we're
15        probably not going to be able to do that.
16              In regards to your BMDs, to your scanners,
17        those are still available to be used with the new
18        Democracy Suite but that will require not just a
19        simple install and update and it updates.          We're
20        going to actually have to break them all the way
21        back down to the BIOS level.        We've got to change
22        a BIOS setting, we've got to adjust operating
23        systems, and then install applications.          All of
24        this process takes a significant amount of time
25        per individual device.




                                                                         81
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 7 of 20



1               In the testing that we have done in our
2         office, it takes with our staff about 15 to 18
3         minutes to go through a full installation process
4         on a single BMD.      For the installation on an
5         optical scan unit, we're looking at about
6         approximately 20 minutes.       But there is some
7         scalability in the optical scan units.          We can
8         have multiple optical scans going through an
9         update process in a simultaneous period.
10              The other issue we will have as we take on
11        the process of potentially updating is the
12        equipment is not all in one central location.            It
13        is spread out amongst a hundred and fifty-nine
14        counties.    So it will be an effort to figure out
15        the logistics of whether the update process will
16        require us to go to each individual county and do
17        the work locally or whether we have to work with
18        the counties to potentially bring equipment back
19        to some sort of locational hub and do the work in
20        a hubbed environment.       And all of those decisions
21        are yet to be made.
22              But as Blake alluded to, we are still in the
23        process of learning more about 5.17, learning
24        also what we will need to undertake to train our
25        local officials on the use of 5.17.         Is there any




                                                                         82
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 8 of 20



1         additional information that we need to make sure
2         voters are aware of in regards to 5.17?
3               There is some additional hardware that's
4         available in 5.17 that we have not previously
5         used.    There is an upgrade to the ballot scanner
6         that is available under 5.17 that does not
7         currently work with five fif -- the 5.5 option
8         that we have.     And there are some larger counties
9         in the state that may be interested in
10        potentially procuring this additional hardware
11        because of it's scalability, it's ability to hold
12        more information.
13              So there's a lot of information that we're
14        yet to really fully understand and get the full
15        grasp of.    So we want to move in a very
16        meticulous fashion where we learn about this
17        process, where we learn about 5.17, and we can
18        then instruct the county election officials to
19        the best of our ability on what things they will
20        have to do in order to execute elections
21        successfully moving forward.
22              So we're in the process of learning.         I wish
23        we were at a state where we knew everything about
24        it at this point, but unfortunately we do not.
25              The biggest surprise that we've encountered




                                                                         83
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 9 of 20



1         so far is the fact that the poll pads are not yet
2         compatible with 5.17.       The vendors are working
3         together to resolve that but we don't yet have a
4         timetable on how long that may take.         And I'm
5         sort of thankful that we had not gotten too far
6         out ahead of ourselves because we could've really
7         been in a situation where we could've been
8         inadvertently impacted in an upcoming election.
9         So I'm thankful that we have -- are taking this
10        meticulous approach at this point in time to
11        learn as much as we can about 5.17.
12              JUDGE DUFFEY:     Any questions from the board
13        members?    Questions?
14              MR. LINDSEY:     Yes.   Before you I have one
15        for that matter.
16              Let's sort of take a timeline.        And I want
17        to make sure I understand because I've heard lots
18        of different things here.       What is the drop --
19        for want of a better term, drop-dead point in
20        which whatever system we have, we have to have it
21        for the 2024 elections?       Because I realize, you
22        know, we're not talking about November.
23              We're -- you know, we have a general
24        election in November.       We have primaries and
25        runoffs in May and June -- May, June, and July.




                                                                         84
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 10 of 20



1          We have special elections.       We have a
2          presidential primary in March.        So in order to
3          have the -- whatever system we have ready and
4          then for you guys to do whatever you need to do
5          to prepare for the election, what is the
6          drop-dead date?
7                MR. BARNES:    It's getting very close, but I
8          will try my best to give you a timeline answer.
9          The scheduled presidential preference primary is
10         early March.     We have to have ballots ready in
11         the counties' hands for mail-out distribution no
12         later than 49 days prior to the election for
13         UOCAVA voting purposes.       That means that the
14         election project that has to exist in order for
15         ballots to be generated and ballots printed has
16         to be completed.     We always aim to have all
17         election projects for an election completed,
18         especially when there's a 49-day ballot -- ballot
19         window, at 60 days prior to that scheduled
20         election.    So we're going to have to have all of
21         the election projects for the state of Georgia
22         finished by middle of January.
23               In order to build those databases, we -- or
24         election project files, we start receiving
25         information from the counties in November of the




                                                                          85
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 11 of 20



1          preceding year.     I believe that we will be
2          obtaining from these -- the Democratic and
3          Republican parties somewhere around November of
4          who will be the candidates for their parties on
5          the presidential preference ballot.
6                Once that information's received, we're also
7          receiving information from counties if they plan
8          to have any special elections tied to the
9          presidential preference primary.        And we're
10         trying to obtain that information at 90 days or
11         sooner, prior to election so that we have
12         adequate time to put that information, to
13         organize the ballot, to provide counties ample
14         time to proof the ballot to confirm that what is
15         laid out is properly correct.
16               And then once they sign off, we have to
17         finalize it.     We have to get the ballots to
18         print.   We have to get the election project
19         packaged so it can be delivered to the county so
20         that it can then be installed locally on their
21         election management system so that counties can
22         then begin the process of their logic and
23         accuracy steps prior to the election.
24               So the voting system needs to be in place
25         for a uniform system of voting.        In the state of




                                                                          86
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 12 of 20



1          Georgia, we've got to be ready to go in December.
2                MR. LINDSEY:    Okay.    Mr. Chairman, can I ask
3          another one along the same line?
4                JUDGE DUFFEY:     Yes.
5                MR. LINDSEY:    I'm curious.     I'm not sure
6          which one of you sort of commented about Ohio but
7          Ohio is also dealing with the same software
8          updates.    And apparently there was a problem with
9          compatibility between the hardware and the
10         software that Ohio was equally concerned about.
11         But -- but they seem to have maybe -- maybe I
12         have it a little bit wrong here.        What did they
13         do in order to fix that compatibility problem so
14         that they could have 5.17 in place or at least by
15         a -- pilot program by August.        What did they do
16         in order to fix that?
17               MR. BARNES:    What -- what the various
18         counties in Ohio are doing -- and Ohio's a
19         different system than of course what we do in
20         Georgia.    Georgia's a uniform system where every
21         county is using the same types of equipment.          In
22         Ohio it's -- it's jurisdictional.        Each county
23         decides what they use to service their voters.
24               In those Ohio counties that have been
25         transitioning to 5.17, there are multiple poll




                                                                          87
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 13 of 20



1          book vendors in play.      But there are two poll
2          book vendors that are unable to currently work
3          with the 5.17 model.      That's KNOWiNK's poll pad
4          and Tenex is the other vendor who is currently
5          unable to work.
6                The jurisdictions in Ohio, what they have
7          opted to do, one county, because they wanted to
8          still maintain the use of their poll pads -- or
9          actually their Tenex devices, have decided to
10         downgrade from 5.17 and actually go back to their
11         5.5 level on their voting machines so that they
12         will be able to still use their poll pads to
13         manage the voter as they come in and participate
14         during the election.
15               The -- another county that has that same
16         dilemma of:    We have a set of poll books that are
17         not working currently with our 5.17 environment,
18         what that county has opted to do is to not use
19         their poll pads or their poll books for this
20         election, that they're going to go through
21         another mechanism of preparing the voter access
22         cards that will be then given to the voter that
23         it will allow them to interact with the machine.
24               So they are using a different tool to create
25         the voter access card that'll be presented to the




                                                                          88
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 14 of 20



1          voter and they are not using their normal poll
2          pad procedure.
3                JUDGE DUFFEY:     How many in Ohio are using
4          the Dominion system?
5                MR. BARNES:    The last count I got from the
6          vendor yesterday, I believe that that are seven
7          counties in Ohio that have now upgraded to 5.17.
8                JUDGE DUFFEY:     And of those -- and how many
9          counties are there totally?
10               MR. BARNES:    I'm not aware of the total
11         number of counties in Ohio?
12               JUDGE DUFFEY:     Do you have a good
13         estimation?
14               MR. BARNES:    It would be nothing but an
15         estimation and I would hate to be inaccurate on
16         that.
17               JUDGE DUFFEY:     All right.
18               MR. BARNES:    They don't have a hundred and
19         fifty-nine counties.      I know that.
20               Eighty-eight counties?      Thank you.
21         Eighty-eight counties.
22               JUDGE DUFFEY:     You're off by one but you're
23         forgiven.
24               How many updates has Dominion offered to
25         Dominion users since we first bought the system




                                                                          89
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 15 of 20



1          for use in our elections?
2                MR. BARNES:    In checking what is currently
3          federally certified under the Dominion -- under
4          the Dominion brand with EAC, I was checking
5          yesterday, there are -- I believe there are four
6          different versions of the 5.5 series.         There's A,
7          B, C, and D.     The newest version is 5.17.
8                JUDGE DUFFEY:     And does 5.17 incorporate
9          everything that was in the prior updates?
10               MR. BARNES:    It incorporates a lot of
11         various things from when the last time Dominion
12         had put a suite together for EAC certification.
13         There have been hardware enhancements.         There
14         have been statutorial changes in elections in our
15         state but also in other states that they serve.
16         So vendors tend to put those type of items into
17         their -- into their suites so that they can
18         expand their customer base potentially.
19               JUDGE DUFFEY:     And of these EAC-certified
20         updates, how many of those did we, Georgia,
21         incorporate onto our machines?
22               MR. BARNES:    We have only stayed with the
23         5.5A series.     There has been -- we -- we went
24         through an update, which was a true update, of
25         one of the applications within the election suite




                                                                          90
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 16 of 20



1          in 2020.    And that was on the BMD touchscreen
2          that we had to go through an application update
3          in order to facilitate a two-column screen when
4          we had 21 candidates for a single contest.
5                And so we had to actually upgrade or update
6          our version number from 5.5.10.30 to 5.5.10.32.
7                JUDGE DUFFEY:     Yeah, I'll try to remember
8          all --
9                MR. BARNES:    Yeah.    If you do,
10         congratulations.     That's ...
11               JUDGE DUFFEY:     In these updates, ones that
12         weren't implemented in Georgia and in 5.7[sic] if
13         you can answer this, do any of those address
14         security in making the system more secure?
15               MR. BARNES:    The five -- the 5.17
16         application, Democracy Suite, was developed in
17         response to those concerns that have been raised
18         over the last two to three years.
19               JUDGE DUFFEY:     And do you know with more
20         specificity what the concerns are that are
21         addressed in 5.17?
22               MR. BARNES:    I'm afraid if I start getting
23         into some of those answers that I'm -- I'm
24         opening ourselves up to talking about things that
25         we would be unsafe to disclose.




                                                                          91
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 17 of 20



1                JUDGE DUFFEY:     Well, can you do it in a more
2          general way?
3                MR. BARNES:    There are -- basically the
4          applicational backgrounds, the backbones of
5          the -- on which the applications are being
6          reinforced and enhanced.        And that's -- I think
7          that's about as far as I can go.
8                JUDGE DUFFEY:     What does reinforced and
9          enhanced mean?
10               MR. BARNES:    This gets into the coding that
11         you put in place within applications to make
12         applications more secure.
13               JUDGE DUFFEY:     Okay.   And is that more
14         secure with respect to internal or external
15         threats?
16               MR. BARNES:    It's a combination of both.
17               JUDGE DUFFEY:     And is that being implemented
18         in 5.17 throughout the system for everybody who
19         uses it that's being taught?
20               MR. BARNES:    Yes.
21               JUDGE DUFFEY:     Okay.   Is it your sense that
22         this will be a good update that will be good for
23         the machines that we use in Georgia?
24               MR. BARNES:    The process of learning about
25         it is absolutely a good step to learn more about.




                                                                          92
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 18 of 20



1          I have been around a lot of voting systems in my
2          time.    And sometimes when a new version comes
3          out, it's best to be cautious because there might
4          be another version coming right behind it because
5          sometimes that thing that we thought was -- that
6          fixed everything, turns out it got close but not
7          quite.
8                So I can't say with absolute that, yes, this
9          will be great because it is an element that we
10         need to learn more about it before we move too
11         quickly.
12               JUDGE DUFFEY:     Just one more question on
13         timing.    If for the presidential preference we
14         have to be able to build ballots and the system
15         be available for voters, that has to occur by
16         December did you say?
17               MR. BARNES:    Yes, sir.
18               JUDGE DUFFEY:     Okay.   Is it possible to do
19         all the things that you described were necessary
20         to do -- the investigation and state
21         certification and be comfortable with the system,
22         is it possible that that could be done by
23         December?
24               MR. BARNES:    It is really important for us
25         to see the use of any update to the system, any




                                                                          93
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 19 of 20



1          upgrade, any -- any change to the system in a
2          real election environment.       Before we
3          transitioned to our current system, we actually
4          put the system through a piloting effort in 2019.
5          And we did that in an effort to learn not only
6          how to use it, but also how to train officials
7          and train voters on how to use it.        And it's very
8          important to have those real election
9          circumstances because things happen in elections
10         that sometimes we don't anticipate.         And it's not
11         when the election goes perfectly how does it
12         react, it's how does it react when something
13         happens that we weren't expecting?
14               And that's the real life experience we gain
15         through a pilot.     And with a pilot scheduled for
16         November -- of course as long as the poll pad
17         application gets in line and we're able to use
18         it -- if we're not done with a piloting operation
19         until November, I don't know how we could then
20         transition to a statewide implementation in 30
21         days.
22               JUDGE DUFFEY:     Any other questions?
23               MR. LINDSEY:    Yeah.    Going back for me,
24         Mr. Chairman.
25               Why can we not use Ohio as the piloting




                                                                          94
     Case 1:17-cv-02989-AT Document 1800-6 Filed 01/25/24 Page 20 of 20



1
2                             CERTIFICATE
3    STATE OF GEORGIA
4
5                I hereby certify that the foregoing meeting
6    was taken down and was reduced to typewriting under my
7    direction; that the foregoing transcript is a true and
8    correct record given to the best of my ability.
9                The above certification is expressly
10   withdrawn upon the disassembly or photocopying of the
11   foregoing transcript, unless said disassembly or
12   photocopying is done under the auspices of the
13   undersigned and electronic signature is attached
14   thereon.
15               I further certify that I am not a relative,
16   employee, attorney, or counsel of any of the parties;
17   nor am I financially interested in the action.
18
19               This, the 24th day of July, 2023.
20
21               **Mary K McMahan**
22               Mary K McMahan, CCR, CVR, RPR, FPR
                 Certified Court Reporter
23               Certificate Number 2757
24
25




                                                                          317
